Case 2:23-cv-00479-AWA-RJK           Document 1       Filed 09/27/23     Page 1 of 29 PageID# 1




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA


LIFENET HEALTH,
                  Plaintiff,                         CASE NO. 2:23-CV-00479
       v.
                                                     JURY TRIAL DEMANDED
ZIMMER BIOMET HOLDINGS, INC. and
EMBODY, INC.,
                  Defendants.


                                          COMPLAINT

        Plaintiff LifeNet Health (“LifeNet”) complains as follows against Zimmer Biomet

 Holdings, Inc. (“Zimmer”) and Embody, Inc. (“Embody”) (collectively, “Defendants”):

                                         THE PARTIES

        1.     LifeNet is a nonstock corporation organized under the laws of the Commonwealth

 of Virginia, having a principal place of business at 1864 Concert Drive, Virginia Beach, Virginia

 23453. LifeNet is a not for profit tax exempt corporation under Section 501(c)(3) of the Internal

 Revenue Code, and is a federally designated Organ Procurement Organization and tissue recovery

 agency.

        2.     Embody is a for profit corporation organized under the laws of the Commonwealth

 of Virginia, with its principal place of business at 4211 Monarch Way, Norfolk, Virginia 23508.

 Embody was founded as Embody LLC on April 11, 2014. Embody LLC was converted to Embody,

 Inc. on December 13, 2018. Embody is a subsidiary of Zimmer.

        3.     Zimmer is a for profit corporation organized under the laws of the state of Delaware,

 with its principal place of business at 345 East Main St., Warsaw, Indiana 46580. Zimmer acquired

 Embody on or about January 5, 2023. Zimmer completed the acquisition of all outstanding shares
Case 2:23-cv-00479-AWA-RJK              Document 1       Filed 09/27/23     Page 2 of 29 PageID# 2




 of Embody on February 14, 2023.

                                    JURISDICTION AND VENUE

         4.        This is an action for patent infringement of U.S. Patent Nos. 10,137,223 (“the ’223

 Patent”) and 11,318,227 (“the ’227 Patent”) (collectively, “the LifeNet Patents”) under the United

 States Patent Laws, 35 U.S.C. § 1, et seq. This Court has subject matter jurisdiction over this

 action under 28 U.S.C. §§ 1331 and 1338.

         5.        This Court also has supplemental jurisdiction over the asserted state law claim for

 tortious interference pursuant to 28 U.S.C. § 1367(a) because the federal and state law claims

 derive from a common nucleus of operative facts.

         6.        This Court has personal jurisdiction over Embody because Embody is a Virginia

 corporation, with its principal place of business in Norfolk, Virginia. Embody has done continuous

 and systematic business in this District and has committed acts of infringement in this District,

 including at least by making, using, offering to sell, and selling LifeNet’s patented inventions in

 this District.

         7.        This Court has personal jurisdiction over Zimmer because Zimmer acquired

 Embody on January 5, 2023. By virtue of this acquisition of Embody, Zimmer does continuous

 and systematic business in this District and has committed acts of infringement in this District,

 including at least by making, using, offering to sell, and selling LifeNet’s patented inventions in

 this District. Zimmer also continues to sell and offer to sell LifeNet’s patented inventions in this

 District.        See   https://www.zimmerbiomet.com/en/products-and-solutions/specialties/sports-

 medicine/activbraid.html#contact (offering ActivBraid suture) (last visited September 27, 2023);

 https://www.zimmerbiomet.com/content/dam/zb-corporate/en/support/coding-guides/4150.1-US-

 en-TAPESTRY-Biointegrative-Implant-Coding-Reference-Guide.pdf               (offering   TAPESTRY




                                                    2
Case 2:23-cv-00479-AWA-RJK             Document 1        Filed 09/27/23       Page 3 of 29 PageID# 3




 implant) (last visited September 27, 2023).

        8.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1400 because

 Embody and LifeNet reside in this District. Furthermore, Embody, LifeNet, and Zimmer have

 regular and established places of business located in this District, and Embody and Zimmer have

 committed acts of infringement in this District.

                                    FACTUAL BACKGROUND

                       A.      LifeNet’s Novel Electrospinning Technology

        9.      Originally founded in 1982 as Eastern Virginia Tissue Bank, LifeNet is a non-profit,

 global leader in regenerative medicine and life sciences. LifeNet fulfills its life-changing mission

 by focusing its efforts in three core areas: (1) LifeNet Health’s Organ Procurement Organization,

 which saves more than 600 lives annually through transplantation; (2) LifeNet Health Biologics,

 which provides nearly 1 million tissue implants globally each year for use in many different

 surgical disciplines; and (3) LifeNet Health LifeSciences, which offers innovative human cell- and

 tissue-based solutions for improved drug discovery and enabling biomedical researchers

 developing the next generation of therapies.

        10.     Beginning in 2010, researchers at LifeNet, led by Dr. Michael Francis, a Research

 and Development Scientist at LifeNet, began developing novel improvements to a process known

 as electrospinning. Electrospinning techniques are used to form particles and fibers as small as

 one nanometer in diameter. The phenomenon involves the formation of a droplet of polymer melt

 at an end of a needle (also called a spinneret), the electric charging of that droplet, and an expulsion

 of parts of the droplet because of the repulsive electric force due to the electric charges. In

 electrospinning, fibers are formed from the liquid as the parts are expelled.

        11.     Once a sufficiently high voltage is introduced to the polymer solution to create a




                                                    3
Case 2:23-cv-00479-AWA-RJK             Document 1        Filed 09/27/23      Page 4 of 29 PageID# 4




 charge imbalance, the solution is then drawn towards a grounded collector through the static

 electric field. As the polymer solution erupts from the needle and the assembling polymer whips

 through space and rapidly thins into a fine stream, the solution assembles into fibers, leaving dry

 nano- to micro-scale fibers of tailorable physical attributes on the collector. Polymer solution

 properties, polymer or co-polymer solution composition, surface tension, conductivity, viscosity,

 applied electrical potential, polymer molecular weight, polymer solution flow rate, distance

 between spinner and collector, ambient parameters (e.g. humidity, air velocity, temperature) and

 motion of the collecting target can be altered to form fibers of controlled fiber distribution,

 diameter and alignment via electrospinning.

        12.     Working with electrospinning techniques in connection with a collagen/synthetic

 co-polymer solution, LifeNet’s researchers led by Dr. Francis found that when extruding a solution

 from an electrified tip of a spinneret and collecting the extruded solution on a portion of a collector

 comprising multiple charged vertical rods on a rotating platform, the electrospun fibers could be

 collected between the opposing metal rods in a highly aligned fashion.




                                                   4
Case 2:23-cv-00479-AWA-RJK           Document 1      Filed 09/27/23      Page 5 of 29 PageID# 5




        13.    As shown in the renderings above of an early prototype of LifeNet’s

 electrospinning technology, the collector comprised at least two vertical rods mounted on a

 platform. The rods were made of an electrical conducting material and were configured to split an

 electric field between them. The rods in the prototype above were configured to rotate about an

 axis passing through the center of the platform (as shown by the annotated red arrow above).

 Another embodiment of the electrospinning technology is shown in the following diagram:




                                                5
Case 2:23-cv-00479-AWA-RJK            Document 1        Filed 09/27/23      Page 6 of 29 PageID# 6




        14.     The diagram above shows another embodiment of LifeNet’s electrospinning

 technology in operation. First, a syringe (or spinneret) is filled with a polymer solution (such as a

 collagen-based solution). The syringe is then subjected to a sufficiently high voltage to create a

 charge imbalance such that when the solution is ejected from the syringe and assembled into fibers

 it is drawn towards the charged rods on the collector.     In the above embodiment, the rods are

 stationary and the fibers spin around the rods to form a highly aligned pattern. In some instances,

 the fibers may also move or jump from one rod to another rod. In other embodiments, the rods

 may rotate.

        15.     As the aligned fibers are collected, they can be coated on the surface of a

 biocompatible matrix (or scaffold) to form an elongated sheet. The aligned electrospun fibers on


                                                  6
Case 2:23-cv-00479-AWA-RJK            Document 1         Filed 09/27/23     Page 7 of 29 PageID# 7




 the matrix can be configured in a direction parallel to the length of the elongated sheet.

        16.     The figures below show a highly magnified comparison between a matrix of

 electrospun fibers using LifeNet’s patented technology (shown on the right), with a matrix of

 randomly electrospun fibers (on the left). As shown on the right, the aligned fiber membrane

 generated by LifeNet’s patented electrospinning techniques lead to highly aligned fibers when

 compared to the randomly patterned fibers generated by traditional electrospinning techniques.

  Traditional Electrospun Fibers                      LifeNet’s Patented Electrospun Fibers




        17.     The degree of alignment of the fibers can be measured using a fast Fourier

 transform (FFT) analysis. When the results of the FFT analysis of the highly aligned fibers from

 LifeNet’s patented technology are graphed on a frequency plot, they show major peaks on the y-

 axis that occur about every 180 degrees on the x-axis, as shown below. This indicates that the

 electrospun fibers are highly aligned.




                                                  7
Case 2:23-cv-00479-AWA-RJK            Document 1       Filed 09/27/23      Page 8 of 29 PageID# 8




                                                  Major Peaks
                                                  ~180o Apart




        18.     This elongated sheet of aligned fibers can be applied as an implant on surgical sites

 of a soft-tissue injury (such as a damaged tendon) to aid in the recovery of the surgically-repaired

 tissue. By using an implant with electrospun fibers that are aligned in the same pattern as the

 naturally occurring fibers on the surgically repaired tissue, the recovery and tissue remodeling

 process is greatly enhanced and accelerated.

                                    B.     The LifeNet Patents

        19.     To protect its novel electrospinning technology and the resulting treatment

 applications, LifeNet prepared and filed Provisional Application No. 61/785,031 (“the ’031

 Provisional Application”) with the United States Patent and Trademark Office (USPTO) on March

 14, 2013. In the ensuing years, LifeNet prepared and filed several non-provisional patent

 applications based on the ’031 Provisional Application.

        20.     On November 27, 2018, the USPTO duly and legally issued the ’223 Patent.

 The ’223 Patent is entitled “Aligned Fiber and Method of Use Thereof” and names as inventors

 Michael Francis and Roy Ogle. The ’223 Patent claims priority back to the ’031 Provisional

 Application filed on March 14, 2013. A true and correct copy of the ’223 Patent is attached as

 Exhibit A.



                                                  8
Case 2:23-cv-00479-AWA-RJK              Document 1       Filed 09/27/23      Page 9 of 29 PageID# 9




         21.     On May 3, 2022, the USPTO duly and legally issued the ’227 Patent. The ’227

 Patent is entitled “Aligned Fiber and Method of Use Thereof.” The ’227 Patent is a divisional of

 the ’223 Patent, names the same inventors, and also claims priority back to the ’031 Provisional

 Application. A true and correct copy of the ’227 Patent is attached as Exhibit B.

         22.     LifeNet is the owner, by assignment registered in the USPTO, of the entire right,

 title, and interest in the LifeNet Patents.

         23.     The LifeNet Patents generally describe a scaffold comprising an aligned fiber. Ex.

 A (’223 Patent) at Abstract. The LifeNet Patents further describe “a scaffold comprising one or

 more electrospun fibers wherein a fast Fourier transform (FFT) analysis result of the fibers have

 adjacent major peaks with about 180o apart from each other.” Id.

         24.     Certain embodiments of the LifeNet patents describe crosslinking the aligned fiber

 and/or electrospun fiber. Id. at 12:27-30; 14:60-61. In some embodiments, “the crosslinking may

 be performed by any conventional chemical crosslinking method (e.g. chemical reagent-promoted,

 chemically reactive linker-promoted and/or enzyme-promoted) and/or dehydrothermal

 crosslinking method (e.g. heat-promoted condensation), forming the covalently crosslinked

 electrospun fiber(s).” Id. at 12:30-36. “In additional embodiments, the crosslinking comprises

 applying a cross-linking agent to the polymer or oligomer solutions to be electrospun.” Id. at

 12:36-38.

         25.     The LifeNet Patents further describe “methods of promoting differentiation of stem

 cells into osteoblasts, chondrocytes, ligament or tendon, the method comprising culturing the cells

 on the scaffold or aligned fiber described herein in conditions suitable for the cell differentiation.”

 Id. at 1:19-24. The resulting implantable biocompatible matrix of aligned fibers “may be prepared

 by combining a sheet or sheets to facilitate surgical implantation.” Id. at 8:23-25. In some




                                                   9
Case 2:23-cv-00479-AWA-RJK            Document 1        Filed 09/27/23     Page 10 of 29 PageID# 10




  embodiments, “the materials for each elongated sheet in the multiple layers of sheets may be

  different from each other.” Id. at 15:14-16.

         26.     The resulting implant can be used for a variety of purposes, such as “for tissue

  augmentation, contouring, restoring physiological function, repairing or restoring tissues damaged

  by disease or trauma, and/or delivering therapeutic agents to normal, damaged or diseased organs

  and tissues.” Id. at 15:61-65.

         27.     Claim 1 of the ’223 Patent recites “[a] scaffold comprising one or more electrospun

  fibers comprising collagen, wherein a fast Fourier transform (FFT) analysis result of the fibers

  have adjacent major peaks with about 180° apart from each other.” Id. at 23:6-9.

         28.     Claim 1 of the ’227 Patent recites a method of treating a tissue defect in a subject

  comprising “implanting at the tissue defect a scaffold comprising crosslinked fibers comprising

  collagen, wherein a result of a fast Fourier transform (FFT) analysis of the fibers demonstrates that

  the fibers have major adjacent peaks that are about 180° apart from each other, and applying the

  scaffold to the tissue defect to repair a tendon, a ligament or a nerve defect.” Ex. B at 23:31-37.

                             C.     LifeNet’s Employment Agreements

         29.     As a condition of his employment with LifeNet, Dr. Francis executed several

  agreements related to his employment. On May 2, 2012, as part of his promotion to the position

  of Research and Development Scientist, Dr. Francis executed an Employment Agreement

  (“Francis Employment Agreement”).         A true and correct copy of the Francis Employment

  Agreement is attached as Exhibit C.

         30.     Section 4 of the Francis Employment Agreement includes the following provision

  governing any inventions that were created or developed by Dr. Francis in the course of his work

  for LifeNet:




                                                   10
Case 2:23-cv-00479-AWA-RJK            Document 1         Filed 09/27/23     Page 11 of 29 PageID# 11




         Employee acknowledges and agrees that LifeNet Health owns, and will own,
         whether as "works made for hire" or otherwise, any and all documents, designs,
         drawings, charts, computer program code, computer software, specifications, notes,
         inventions, improvements, discoveries, and other works of any kind ( collectively,
         "Works") that Employee creates or develops, whether alone or with others, in the
         course of Employee's employment with LifeNet Health, regardless of whether any
         such Work is in printed, mechanical, electronic, or other form and regardless of
         whether any such Work may be subject to patent, copyright, trademark, domain
         name, trade secret, mask work, or other legal protection. To the extent, if any, that
         LifeNet Health does not by operation of law automatically own all right, title, and
         interest in and to all such Works, Employee agrees to assign, and hereby does
         assign, to LifeNet Health any and all of his or her right, title, and interest in and to
         all such Works.

         Ex. C (Francis Employment Agreement) at 4-5.

         31.     Section 4 also included a provision stating: “Employee agrees never to exploit,

  challenge, seek to register, or assign or license to any third party, directly or indirectly anywhere

  in the world, any of the rights owned by, or assigned to, LifeNet Health hereunder.” Id. at 5.

  According to Section 5.2 of the Francis Employment Agreement, Dr. Francis’s obligations under

  Section 4 survived the termination of the agreement.

         32.     Another individual, Nathan Kemper, was hired by LifeNet in 2011 as a design

  engineer to be part of Dr. Francis’ team. Mr. Kemper also executed a number of agreements as a

  condition of his employment with LifeNet.             On March 7, 2014, Mr. Kemper signed a

  Confidentiality, Non-Competition, Non-Solicitation, and Intellectual Property Agreement

  (“Kemper IP Agreement”). A true and correct copy of the Kemper IP Agreement is attached as

  Exhibit D.

         33.     Section 7 of this agreement included the following provision governing any

  inventions that were created or developed by Mr. Kemper in the course of his work for LifeNet:

         Employee acknowledges and agrees that LifeNet owns, and will own, whether as
         "works made for hire" or otherwise, any and all documents, designs, drawings,
         charts, computer program code, computer software, specifications, notes,
         inventions, improvements, discoveries, and other works of any kind ( collectively,
         "Works") that Employee creates or develops (or has created or developed), whether


                                                   11
Case 2:23-cv-00479-AWA-RJK             Document 1        Filed 09/27/23      Page 12 of 29 PageID# 12




          alone or with others, in the course of Employee's employment with LifeNet,
          regardless of whether any such Work is in printed, mechanical, electronic, or other
          fo1m and regardless of whether any such Work may be subject to patent copyright,
          trademark, domain name, trade secret, mask work, or other legal protection. To the
          extent, if any, that LifeNet does not by operation of law automatically own all right,
          title, and interest in and to all such Works, Employee agrees to assign, and hereby
          does assign, to LifeNet any and all of his/her right, title, and interest in and to all
          such Works.

          Ex. D (Kemper IP Agreement) at 5.

          34.     Like the Francis Employment Agreement, Section 7 of the Kemper IP Agreement

  also included a provision stating: “Employee agrees never to exploit, challenge, seek to register,

  or assign or license to any third party, directly or indirectly anywhere in the world, any of the rights

  owned by, or assigned to, LifeNet hereunder.” Id.

                D.      Embody Copies LifeNet’s Patented Inventions in its Patents

          35.     Embody was founded in 2014 in Norfolk Virginia, expending $22 million in federal

  grant money from the Defense Advanced Research Projects Agency (DARPA) to develop

  collagen-based implants for soft tissue repair and augmentation. Facing a severe knowledge and

  technology deficit while under pressure to justify the significant federal grant money it received,

  Embody almost immediately began poaching LifeNet’s locally based research team to develop its

  own tissue implants using LifeNet’s patented technology.

          36.     In 2015, just a few years after LifeNet filed the ’031 Provisional Application to

  protect its propriety technology, Embody recruited and hired Dr. Francis, the co-inventor on the

  LifeNet Patents. Initially hired as Embody’s Director of Research and Development, Embody

  eventually promoted Dr. Francis to the role of Chief Scientific Officer. Almost immediately,

  Embody began utilizing LifeNet’s patented electrospinning technology to develop its own

  implants for treating soft-tissue injuries. Over the ensuing years, Embody continued to poach

  employees from LifeNet as part of this development process, including Nathan Kemper, who also



                                                    12
Case 2:23-cv-00479-AWA-RJK             Document 1        Filed 09/27/23     Page 13 of 29 PageID# 13




  left LifeNet to join Embody in 2015.

           37.     Beginning in 2017, Embody began filing its own patents on collagen-based

  products that incorporated LifeNet’s patented technology. Embody’s intellectual property strategy

  reveals that it has been well aware of the LifeNet Patents since their dates of issuance. For example,

  U.S. Publication No. 2016/0022865 (the “’865 Publication”), which is the published version of the

  application that eventually issued as the ’223 Patent,1 was cited and discussed by Embody and the

  USPTO during the prosecution of several Embody patents, including U.S. Patent No. 10,617,787

  (the “’787 Patent”) (attached as Exhibit E), U.S. Patent No. 11,116,870 (the “’870 Patent”)

  (attached as Exhibit F), and U.S. Patent No. 11,213,610 (the “’610 Patent”) (attached as Exhibit

  G). The ’787 Patent, the ’870 Patent, and the ’610 Patent all list Dr. Francis as a co-inventor, and

  all three cite the ’865 Publication on their face. Mr. Kemper is listed as a co-inventor on the ’787

  and ’870 Patents.2

           38.     During the prosecution of the ’787 Patent, Embody extensively discussed LifeNet’s

  patented inventions in an office action response to the USPTO on March 15, 2019 (several months

  after the ’223 Patent had issued).       In that March 15, 2019 filing, Embody admitted that

  LifeNet’s ’865 Publication disclosed highly aligned fibers, which is a critical feature of LifeNet’s

  patented inventions. Ex. H at 8. Embody again discussed LifeNet’s patented inventions in another

  office action response on September 6, 2019, where Embody again acknowledged that the ’865

  Publication “teaches a scaffold having aligned fibers.” Ex. I at 10.

           39.     During the prosecution of the ’870 Patent, in an office action on July 28, 2020 (more



  1
      See Ex. A at Cover (listing “US 2016/0022865” under “Prior Publication Data”).
  2
   See, e.g., Ex. E at page 2 (listing 2016/0022865 to Francis under “References Cited”); Ex. F at
  page 2 (same); Ex. G at page 2 (same).


                                                    13
Case 2:23-cv-00479-AWA-RJK            Document 1        Filed 09/27/23     Page 14 of 29 PageID# 14




  than a year and a half after the ’223 Patent issued), the USPTO discussed LifeNet’s ’865

  Publication, stating that it “teaches a scaffold comprising an aligned fiber.” Ex. J at 7. The USPTO

  further explained that the ’865 Publication’s “invention further relates to a scaffold comprising

  one or more electrospun fibers wherein a fast Fourier transform (FFT) analysis result of the fibers

  have adjacent major peaks with about 180? [sic] Apart from each other.” Id. (emphasis in the

  original). The USPTO also highlighted that in the ’865 Publication “the scaffold may be in the

  form of one or more elongated sheets,” and “includes fiber from collagen.” Id. (emphasis in

  the original). In its response on January 28, 2021, Embody submitted a sworn declaration from

  Dr. Francis, in which he stated that he was Embody’s Chief Scientific Officer and acknowledged

  that he was also a “named inventor” on LifeNet’s ’865 Publication. Ex. K at ¶ 2. Dr. Francis also

  acknowledged that the ’865 Publication, which disclosed the inventions claimed in the LifeNet

  Patents, was “assigned on its face to LifeNet Health.” Id.

         40.     On November 9, 2018, Dr. Francis and Mr. Kemper assigned their interests in

  Patent Application No. 16/152,963 (“the ’963 Application”) to Embody LLC. Ex. L at REEL:

  047486 FRAME: 0570. The ’963 Application is the parent application for the ’787 and ’870

  Patents. Ex. E at Cover (listing “Appl. No.: 16/152,963”). The ’787 Patent describes inventions

  that were developed by Dr. Francis and Mr. Kemper while they were still LifeNet employees. For

  example, claim 1 of the ’787 Patent recites “An implantable ligament and tendon repair device

  comprising an annealed biopolymer sheet having substantially aligned electrospun biopolymer

  fibers . . .” Ex. E at 14:2-5 (emphasis added). Yet Dr. Francis had already developed this same

  technology years earlier at LifeNet (and assigned it to LifeNet). See Ex. A (’223 Patent) at Abstract

  (describing “[a] scaffold comprising an aligned fiber. The invention further relates to a scaffold

  comprising one or more electrospun fibers wherein a fast Fourier transform (FFT) analysis result




                                                   14
Case 2:23-cv-00479-AWA-RJK              Document 1       Filed 09/27/23    Page 15 of 29 PageID# 15




  of the fibers have adjacent major peaks with about 180? apart from each other”). Similarly,

  the ’870 Patent describes inventions that were developed by Dr. Francis and Mr. Kemper while

  they were still LifeNet employees. For example, claim 1 of the ’870 Patent recites “[a]n

  implantable ligament and tendon repair device comprising an annealed biopolymer sheet having

  substantially aligned electrospun biopolymer fibers.” Ex. F at 14:2-4 (emphasis added).

          41.        Per the terms of the Francis Employment Agreement, Dr. Francis was contractually

  obligated to assign the inventions described in the ’787 and ’870 Patents to LifeNet, and not any

  third party (including Embody). Ex. C (Francis Employment Agreement) at 4-5. Similarly, per

  the terms of the Kemper IP Agreement, Mr. Kemper was contractually obligated to assign these

  inventions to LifeNet, and not any third party (including Embody). Ex. D (Kemper IP Agreement)

  at 5.

                E.       Embody Copies LifeNet’s Patented Inventions in its Products

          42.        By 2018, Embody’s CEO Jeff Conroy was attending industry tradeshows and

  publicly touting Embody’s allegedly new “scaffold” that was made up of “microfibers that are

  aligned in the same direction” as the fibers of the native cells at the surgical site. 3 Just like

  LifeNet’s patented invention, Embody’s “new” scaffold would stimulate new cells and new tissue

  to greatly improve the repair process at the surgical site.

          43.        On information and belief, by unlawfully using LifeNet’s patented inventions,

  Embody ultimately arrived at the TAPESTRY Biointegrative Implant (“TAPESTRY”).

  According to Embody, TAPESTRY “is a bioengineered collagen implant with a highly aligned &

  highly porous architecture specifically designed to support tendon and ligament healing.” Copying


  3
   See “Rick Horrow interviews Jeff Conroy” at
  https://rickhorrow.tumblr.com/post/173264380601/rick-horrow-interviews-jeff-conroy (last
  visited September 21, 2023)


                                                    15
Case 2:23-cv-00479-AWA-RJK           Document 1        Filed 09/27/23     Page 16 of 29 PageID# 16




  directly from LifeNet’s patented electrospun fiber architecture, Defendants’ promotional materials

  (shown below) highlight the way TAPESTRY’s “highly aligned and consistent micro-architecture

  mimics native tendon.” See https://embody-inc.com/tapestry/ (emphasis added) (last visited

  September 21, 2023).




         44.     According to Defendants, TAPESTRY’s “highly aligned collagen-based implant . . .

  gradually resorbs leaving new tendon-like tissue to augment the existing tendon.” This “highly

  aligned” arrangement provides a “cell infiltration friendly microstructure.” Id.

         45.     Borrowing directly from LifeNet’s patented inventions, Embody has promoted

  TAPESTRY’s “superior micro-architecture for tendon healing” based on the fact that it is

  “significantly more porous and ordered” than conventional biomaterials. For example, during a

  presentation by Embody’s CEO at the Emerging Medtech Summit in March 2022 (attached as

  Exhibit M),4 Embody touted the highly aligned electrospun fibers of the TAPESTRY implant

  compared to “conventional biomaterials”:



  4
   Mr. Conroy’s presentation can be viewed at
  https://www.youtube.com/watch?v=WOhFPD8uUZg (last visited September 21, 2023).


                                                  16
Case 2:23-cv-00479-AWA-RJK              Document 1     Filed 09/27/23     Page 17 of 29 PageID# 17




  Ex. M at 7.

         46.     Yet, as shown in the table below, TAPESTRY’s “highly aligned” electrospun fiber

  architecture is nothing more than a repackaging of LifeNet’s highly aligned electrospun fibers that

  are claimed in the LifeNet Patents.

   Defendants’ “Highly Aligned”                   LifeNet’s Patented Electrospun Fibers
   Electrospun Fibers




         47.     On October 9, 2020, Embody received FDA clearance for the TAPESTRY implant.

  According to Defendants, “[p]reclinical studies of TAPESTRY showed dense collagenous fibrous

  connective tissue ingrowth into and around the scaffolding.”


                                                  17
Case 2:23-cv-00479-AWA-RJK            Document 1       Filed 09/27/23     Page 18 of 29 PageID# 18




          48.      In its March 2022 presentation, Embody made known its plans to use LifeNet’s

  patented inventions in TAPESTRY to treat an “unparalleled” number of injuries, including rotator

  cuff injuries, ACL and LCL tears, Achilles tendon ruptures, and quadriceps injuries. Ex. M at 9.

          49.      On information and belief, Embody began selling TAPESTRY in the United States

  in 2021.

          50.      In 2022, Embody launched the TAPESTRY RC, which is directed to rotator cuff

  repair and includes mechanisms for delivering and fixing the TAPESTRY implant at post-surgical

  sites in vivo:




  Ex. M at 12.

          51.      Defendants provide videos on their website showing their customers how to use the

  TAPESTRY RC to practice the claimed inventions of the LifeNet Patents. See https://embody-

  inc.com/tapestryrc/ (last visited September 21, 2023).

          52.      Not satisfied with using LifeNet’s patented technology unlawfully in their

  TAPESTRY implant, Defendants also have been using LifeNet’s patented technology in the




                                                  18
Case 2:23-cv-00479-AWA-RJK               Document 1       Filed 09/27/23   Page 19 of 29 PageID# 19




  ActivBraid Collagen Suture (“ActivBraid”). According to Defendants, ActivBraid uses a “novel

  cross-linking” that has “no associated inflammatory response.”




  Ex. M at 14.

         53.          Just as with LifeNet’s ’227 Patent, ActivBraid uses highly aligned, crosslinked

  collagen microfibers.5

         54.          On June 2, 2023, Defendants received FDA approval to market ActivBraid in the

  United States. Defendants have now begun advertising and selling ActivBraid in the United States.

  See                     https://www.zimmerbiomet.com/en/products-and-solutions/specialties/sports-

  medicine/activbraid.html#contact (last visited September 21, 2023).

                 F.       Zimmer Acquires Embody for LifeNet’s Patented Inventions
  `
         55.          The value of LifeNet’s patented inventions in Embody’s products did not go

  unnoticed by the market. On January 5, 2023, Zimmer announced that it had reached a definitive



  5
    Embody initially named the suture MICROBRAID during the R&D phase, but later abandoned
  that name in favor of ActivBraid.


                                                     19
Case 2:23-cv-00479-AWA-RJK            Document 1        Filed 09/27/23     Page 20 of 29 PageID# 20




  agreement to acquire Embody for $155 million at closing, with up to an additional $120 million

  subject to achieving future regulatory and commercial milestones over a three-year period. In its

  press release announcing the acquisition, Zimmer touted “Embody's complete portfolio of

  collagen-based biointegrative solutions to support healing in the most challenging orthopedic soft

  tissue injuries – including the TAPESTRY® biointegrative implant for tendon healing and

  TAPESTRY® RC, one of the first arthroscopic implant systems for rotator cuff repair.” Embody’s

  CEO Jeff Conroy also stated “[w]e are excited for the potential to create value for patients and

  customers in new ways and believe the combination of Embody's innovative products and Zimmer

  Biomet's established portfolio will bring new solutions to the market that could redefine the

  standard of care.” See https://investor.zimmerbiomet.com/news-and-events/news/2023/01-05-

  2023-120317843 (last visited September 21, 2023).

         56.     Zimmer’s press release understates the value of LifeNet’s patented inventions---

  “Embody’s complete portfolio of collagen-based biointegrative solutions” consists of only two

  product lines (TAPESTRY and ActivBraid), and both of these products practice LifeNet’s patented

  inventions. Zimmer therefore recognizes the growing market demand for the inventions in the

  LifeNet Patents.

                COUNT 1: PATENT INFRINGEMENT OF THE ’223 PATENT

         57.     LifeNet realleges and incorporates by reference the allegations set forth in

  paragraphs 1-56 above.

         58.     Defendants made, used, offered for sale, and sold TAPESTRY, and Defendants

  continue to make, use, offer for sale, and sell TAPESTRY in the United States.

         59.     As shown in the claim chart attached as Exhibit N, pursuant to 35 U.S.C. § 271(a),

  Defendants have directly infringed at least claim 1 of the ’223 Patent (either literally or under the




                                                   20
Case 2:23-cv-00479-AWA-RJK            Document 1        Filed 09/27/23     Page 21 of 29 PageID# 21




  doctrine of equivalents) by making, using, offering for sale, and/or selling the TAPESTRY implant

  in the United States. Defendants’ infringement is ongoing.

           60.     On information and belief, Defendants have been aware that the TAPESTRY

  implant infringes at least claim 1 of the ’223 Patent since the date of the ’223 Patent’s issuance.

  Embody repeatedly and extensively discussed a number of the patented features of the ’223 Patent

  during the prosecution of Embody’s own later-filed patents. Supra ¶¶ 38-39. All of these

  discussions occurred well after the ’223 Patent had issued.

           61.     Furthermore, Embody employed Dr. Francis—the co-inventor of the ’223 Patent—

  for over seven years until 2021. In a declaration dated January 27, 2021, Dr. Francis admitted that

  the inventions in the ’865 Publication (which are claimed in the LifeNet Patents) were “assigned . . .

  to LifeNet Health.” Ex. K, ¶ 2. Dr. Francis co-founded Embody, served as Embody’s Chief

  Scientific Officer and Vice President of R&D, and developed Embody’s infringing TAPESTRY

  implant.       See https://embody-inc.com/embody-competes-for-another-milestone-victory/ (last

  visited September 20, 2023). Defendants also continue to employ Mr. Kemper as their Director

  of Engineering.6 Mr. Kemper worked closely with Dr. Francis on LifeNet’s novel electrospinning

  technology while they were both employed by LifeNet. Defendants are also aware that the

  TAPESTRY implant infringes at least claim 1 of the ’223 Patent by virtue of the filing of LifeNet’s

  complaint.

           62.     Defendants have manufactured, used, sold, and offered to sell the TAPESTRY in

  spite of their awareness of its infringement of the ’223 Patent. Thus, Defendants’ infringement of

  the ’223 Patent has been (and continues to be) willful and deliberate.

           63.     Defendants’ infringement of the ’223 Patent will continue unless enjoined by this


  6
      See https://embody-inc.com/img_6242/ (last visited September 25, 2023).


                                                   21
Case 2:23-cv-00479-AWA-RJK            Document 1        Filed 09/27/23     Page 22 of 29 PageID# 22




  Court.

           64.   As a direct and proximate cause of Defendants’ infringement of the ’223 Patent,

  LifeNet has suffered and will continue to suffer irreparable injury and damages in an amount not

  yet determined for which LifeNet is entitled to relief.

           65.   Because Defendants’ infringement of the ’223 Patent is willful and deliberate,

  LifeNet is entitled to enhanced damages under 35 U.S.C. § 284 and to attorneys’ fees and costs

  under 35 U.S.C. § 285.

                 COUNT 2: PATENT INFRINGEMENT OF THE ’227 PATENT

           66.   LifeNet realleges and incorporates by reference the allegations set forth in

  paragraphs 1-56 above.

           67.   On information and belief, Defendants have used ActivBraid, and continue to use

  ActivBraid in the United States.

           68.   As shown in the claim chart attached as Exhibit O, Defendants’ use of the

  ActivBraid sutures for testing purposes infringed and continues to infringe at least claim 1 of

  the ’227 Patent pursuant to 35 U.S.C. § 271(a) either literally or under the doctrine of equivalents.

           69.   Defendants also infringe at least claim 1 of the ’227 Patent with respect to

  ActivBraid sutures sold to customers inside the United States pursuant to 35 U.S.C. § 271(b). As

  shown in Exhibit O, such United States customers directly infringe at least claim 1 of the ’227

  Patent pursuant to 35 U.S.C. § 271(a) when they use the ActivBraid suture. Defendants actively

  induce the infringement of their United States customers by encouraging their customers to use

  the ActivBraid, as evidenced by Defendants’ promotional materials for the ActivBraid on

  Defendants’       website.             See       https://www.zimmerbiomet.com/en/products-and-

  solutions/specialties/sports-medicine/activbraid.html#contact (last visited September 21, 2023).




                                                   22
Case 2:23-cv-00479-AWA-RJK           Document 1         Filed 09/27/23    Page 23 of 29 PageID# 23




  Defendants encourage their customers to do so in spite of knowing that such use infringes at least

  claim 1 of the ’227 Patent.

         70.      Defendants also infringe at least claim 1 of the ’227 Patent with respect to their

  customers inside the United States pursuant to 35 U.S.C. § 271(c). Such United States customers

  directly infringe at least claim 1 of the ’227 Patent pursuant to 35 U.S.C. § 271(a) when they use

  the ActivBraid. Defendants contribute to the infringement of their United States customers by

  selling the ActivBraid to their customers, which includes the claimed features of claim 1 of

  the ’227 Patent. As shown in Exhibit O, these features are a material part of the invention of at

  least claim 1 of the ’227 Patent and are not a staple article or commodity of commerce suitable for

  substantial noninfringing use. There is no way to use the ActivBraid without infringing claim 1

  of the ’227 Patent, because ActivBraid must be implanted at a tissue defect and applied to the

  tissue defect in order to perform its intended function. Defendants sell the ActivBraid to their

  customers with the knowledge that the ActivBraid is especially made or especially adapted for use

  in infringing at least claim 1 of the ’227 Patent, as evidenced by Defendants’ promotional materials

  for       the       ActivBraid        found          on      Defendants’        website.        See

  https://www.zimmerbiomet.com/en/products-and-solutions/specialties/sports-

  medicine/activbraid.html#contact (last visited September 21, 2023).

         71.      On information and belief, Defendants have been aware that the ActivBraid suture

  infringes at least claim 1 of the ’227 Patent since the date of the ’227 Patent’s issuance. Embody

  repeatedly and extensively discussed a number of the patented features of the ’227 Patent during

  the prosecution of Embody’s own later-filed patents. Supra ¶¶ 38-39.

         72.      Furthermore, Embody employed Dr. Francis—the co-inventor of the ’227 Patent—

  for over seven years until 2021. In a declaration dated January 27, 2021, Dr. Francis admitted that




                                                  23
Case 2:23-cv-00479-AWA-RJK            Document 1        Filed 09/27/23      Page 24 of 29 PageID# 24




  the inventions in the ’865 Publication (which are claimed in the LifeNet Patents) were “assigned . . .

  to LifeNet Health.” Ex. K, ¶ 2. Dr. Francis co-founded Embody, served as Embody’s Chief

  Scientific Officer and Vice President of R&D, and developed Embody’s infringing ActivBraid

  suture. Defendants also continue to employ Mr. Kemper as their Director of Engineering. Mr.

  Kemper worked closely with Dr. Francis on LifeNet’s novel electrospinning technology while they

  were both employed by LifeNet. Defendants are also aware that the ActivBraid suture infringes

  at least claim 1 of the ’227 Patent by virtue of the filing of LifeNet’s complaint.

           73.   Defendants used and continue to use the ActivBraid suture despite their awareness

  of its infringement of the ’227 Patent. Thus, Defendants’ infringement of the ’227 Patent has been

  (and continues to be) willful and deliberate.

           74.   Defendants’ infringement of the ’227 Patent will continue unless enjoined by this

  Court.

           75.   As a direct and proximate cause of Defendants’ infringement of the ’227 Patent,

  LifeNet has suffered and will continue to suffer irreparable injury and damages in an amount not

  yet determined for which LifeNet is entitled to relief.

           76.   Because Defendants’ infringement of the ’227 Patent is willful and deliberate,

  LifeNet is entitled to enhanced damages under 35 U.S.C. § 284 and to attorneys’ fees and costs

  under 35 U.S.C. § 285.

                 COUNT 3: TORTIOUS INTERFERENCE WITH CONTRACT

           77.   LifeNet realleges and incorporates by reference the allegations set forth in

  paragraphs 1-56 above.

           78.   LifeNet had valid and binding contractual relationships with Dr. Francis and Mr.

  Kemper, namely the Francis Employment Agreement and the Kemper IP Agreement, respectively.




                                                   24
Case 2:23-cv-00479-AWA-RJK             Document 1         Filed 09/27/23      Page 25 of 29 PageID# 25




          79.     Under the Francis Employment Agreement, Dr. Francis agreed “to assign, and

  hereby does assign, to LifeNet Health any and all of his or her right, title, and interest in and to all

  such Works.” Ex. C (Francis Employment Agreement), § 4.

          80.     Dr. Francis further agreed “never to exploit, challenge, seek to register, or assign

  or license to any third party, directly or indirectly anywhere in the world, any of the rights owned

  by, or assigned to, LifeNet Health hereunder.” Id.

          81.     Under the Kemper IP Agreement, Mr. Kemper agreed “to assign, and hereby does

  assign, to LifeNet Health any and all of his or her right, title, and interest in and to all such Works.”

  Ex. D (Kemper IP Agreement), § 7.

          82.     Similarly, under the Kemper IP Agreement, Mr. Kemper agreed “never to exploit,

  challenge, seek to register, or assign or license to any third party, directly or indirectly anywhere

  in the world, any of the rights owned by, or assigned to, LifeNet hereunder.” Id.

          83.     On information and belief, Embody was aware that Dr. Francis and Mr. Kemper

  were subject to these provisions in their agreements with LifeNet. Dr. Francis co-founded Embody

  and was employed there until 2021. Mr. Kemper left LifeNet to join Embody in 2015 and is

  currently Embody’s Director of Engineering.

          84.     Embody, through its predecessor-in-interest Embody LLC, intentionally interfered

  with the contractual relationship between Dr. Francis and LifeNet by inducing or causing Dr.

  Francis to breach the Francis Employment Agreement. More specifically, Embody induced Dr.

  Francis to breach Section 4 of the Francis Employment Agreement on November 9, 2018 when

  Dr. Francis assigned his interests in the inventions of at least the ’787 Patent and ’870 Patent to

  Embody’s predecessor in interest Embody LLC. Embody was aware that the inventions described

  in the ’787 and ’870 Patents were developed by Dr. Francis while he was still a LifeNet employee,




                                                     25
Case 2:23-cv-00479-AWA-RJK           Document 1        Filed 09/27/23     Page 26 of 29 PageID# 26




  and thus under Section 4 of the Francis Employment Agreement, those inventions are owned by

  LifeNet, and Dr. Francis was contractually obligated to refrain from assigning those inventions to

  any third party (including Embody).

         85.      Embody, through its predecessor-in-interest Embody LLC, intentionally interfered

  with the contractual relationship between Mr. Kemper and LifeNet by inducing or causing Mr.

  Kemper to breach the Kemper IP Agreement. More specifically, Embody induced Mr. Kemper

  to breach Section 7 of the Kemper IP Agreement on November 9, 2018 when Mr. Kemper assigned

  his interests in the inventions of at least the ’787 Patent and ’870 Patent to Embody’s predecessor

  in interest Embody LLC. Embody was aware that the inventions described in the ’787 and ’870

  Patents were developed by Mr. Kemper while he was still a LifeNet employee, and thus under

  Section 7 of the Kemper IP Agreement, those inventions are owned by LifeNet, and Mr. Kemper

  was contractually obligated to refrain from assigning those inventions to any third party (including

  Embody).

         86.     Upon information and belief, all of these acts occurred within the Commonwealth

  of Virginia.

         87.     As a result of Embody’s tortious interference, LifeNet has suffered damages,

  including at least through the loss of the value of its intellectual property in at least the ’787

  and ’870 Patents that was developed by Dr. Francis and Mr. Kemper while they were LifeNet

  employees, intellectual property to which LifeNet has ownership rights by virtue of the Francis

  Employment Agreement and the Kemper IP Agreement.

         88.     Although LifeNet is entitled to damages to compensate it for the harm is has already

  suffered, the damages will not provide an adequate remedy at law, as Defendants have profited

  from this interference by unlawfully exploiting inventions that rightfully belong to LifeNet. This




                                                  26
Case 2:23-cv-00479-AWA-RJK          Document 1         Filed 09/27/23   Page 27 of 29 PageID# 27




  harm cannot be adequately remedied by monetary damages, and LifeNet is entitled to an order

  transferring ownership of at least the ’787 and ’870 Patents (as well as any other Embody patents

  and patent applications describing inventions developed by Dr. Francis and Mr. Kemper while

  they were LifeNet employees) to LifeNet.

                                     PRAYER FOR RELIEF

         WHEREFORE, LifeNet requests that:

         a)     The Court enter judgment that Defendants have infringed one or more claims of the

                ’223 Patent;

         b)     The Court enter judgment that Defendants have infringed one or more claims of the

                ’227 Patent;

         c)     The Court enter an injunction restraining and enjoining Defendants, and their

                respective officers, agents, servants, employees, attorneys, and those persons in

                active concert or participation with Defendants who receive actual notice of the

                order by personal service or otherwise, from any further sales or use of their

                infringing products and/or services and any other infringement of the LifeNet

                Patents, whether direct or indirect;

         d)     The Court enter an award of damages to compensate LifeNet for Defendants’

                infringement, including damages pursuant to 35 U.S.C. § 284, such as an award of

                LifeNet’s lost profits on sales lost to Defendants and/or a reasonable royalty on

                Defendants’ sales, not only of the TAPESTRY and ActivBraid, but also convoyed

                goods and services; prejudgment and post-judgment interest, and ongoing royalties

                in the absence of a permanent injunction;




                                                 27
Case 2:23-cv-00479-AWA-RJK         Document 1        Filed 09/27/23     Page 28 of 29 PageID# 28




        e)     The Court find that Defendants have willfully infringed and are willfully infringing

               one or more claims of the LifeNet Patents and award treble damages due to

               Defendants’ deliberate and willful conduct;

        f)     The Court declare this case to be exceptional under 35 U.S.C. § 285 or otherwise,

               and award LifeNet its reasonable attorneys’ fees, costs, and expenses incurred in

               bringing this action;

        g)     The Court enter judgment that Defendants have tortiously interfered with LifeNet’s

               contractual relationships with Dr. Francis;

        h)     The Court enter judgment that Defendants have tortiously interfered with LifeNet’s

               contractual relationships with Mr. Kemper;

        i)     The Court award LifeNet damages for past harm it has suffered from Embody’s

               tortious interference in an amount to be determined at trial;

        j)     The Court enter an injunction transferring ownership of at least the ’787 and ’870

               Patents to LifeNet, along with any other Embody patents and patent applications

               describing inventions developed by Dr. Francis and Mr. Kemper while they were

               LifeNet employees; and

        k)     The Court grant such other and further relief as it deems to be just and proper.

                                        JURY DEMAND
        LifeNet hereby demands a trial by jury on all claims, issues and damages so triable.



   Dated: September 27, 2023                      Respectfully submitted,


                                                  /s/ Brian C. Riopelle
                                                  Brian C. Riopelle (VSB No. 36454)
                                                  George B. Davis (VSB No. 83165)
                                                  MCGUIREWOODS LLP



                                                28
Case 2:23-cv-00479-AWA-RJK   Document 1     Filed 09/27/23        Page 29 of 29 PageID# 29




                                          800 East Canal Street
                                          Richmond, VA 23219-3916
                                          Telephone: 804-775-1000
                                          Facsimile: 804-225-5377
                                          briopelle@mcguirewoods.com
                                          gdavis@mcguirewoods.com

                                          Counsel for Plaintiff
                                          LifeNet Health




                                      29
